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        Exhibit 2 to
Declaration of Mark C. Mao
 ISO Plaintiffs’ Unopposed
Motion for Final Approval of
  Class Action Settlement
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                                                      $5 billion lawsuit           Filed
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    Google faces $5 billion lawsuit for tracking
    people in incognito mode
    The search giant is accused of invading the privacy of millions of Americans.


               Carrie Mihalcik
               June 3, 2020 8:04 a.m. PT




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    Google headquarters sprawls across a large campus in Mountain View, California.
    Stephen Shankland/CNET


    Google faces a proposed class action lawsuit that accuses the tech giant of
    invading people's privacy and tracking internet use even when browsers are
    set to "private" mode. The suit, filed Tuesday in the US District Court for the
    Northern District of California, alleges that Google violates wiretapping and
    privacy laws by continuing to "intercept, track, and collect communications"
    even when people use Chrome's incognito mode and other private web
    browser modes.
    "Google tracks and collects consumer browsing history and other web activity
    data no matter what safeguards consumers undertake to protect their data
    privacy," reads the complaint. The search giant surreptitiously collects data
    through Google Analytics, Google Ad Manager, website plug-ins and other
    applications, including mobile apps , according to the complaint.
    The lawsuit seeks at least $5 billion from Google and its parent company,
    Alphabet, according to Reuters. The complaint says the proposed class may
    include "millions" of Google users and iswelooking
                                                might givefor
                                                           up. damages
                                                               [ MUSIC ] of at least $5,000
    for each individual.
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    Google said it disputes the claims and plans to defend itself vigorously against
    them.

    See also
    • Google keeps a frightening amount of data on you. Here's how to find and delete it
    • Two children sue Google for allegedly collecting students' biometric data

    "Incognito mode in Chrome gives you the choice to browse the internet without
    your activity being saved to your browser or device," said Google spokesperson
    Jose Castaneda. "As we clearly state each time you open a new incognito tab,
    websites might be able to collect information about your browsing activity
    during your session."
    Plaintiffs in the case are being represented by the law firm Boies Schiller &
    Flexner.



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